Case 18-28470    Doc 39    Filed 07/25/19 Entered 07/25/19 13:39:10        Desc Main
                             Document     Page 1 of 3




                  UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION
 ________________________________________________________________________
 IN RE:
        LATASHA CHANTA TENNIAL,                  Case No. 18-28470-JDL

             Debtor.                             Chapter 13
 ________________________________________________________________________

  MOTION TO TERMINATE AUTOMATIC STAY, OR IN THE ALTERNATIVE
       FOR AN ORDER DEEMING THE AUTOMATIC STAY TO NOT BE IN
         EFFECT AS TO CERTAIN REAL PROPERTY, IN REM AND WITH
                                 PREJUDICE
 ________________________________________________________________________

        COMES NOW REI Nation, LLC, by counsel, pursuant to Section 362(d) of

 the Bankruptcy Code, and respectfully moves this Honorable Court for a Order

 Terminating the Automatic Stay, or in the alternative for an Order deeming the

 Automatic Stay to not be in effect as to certain real property, and in support

 thereof would respectfully show the following:

           1. REI Nation, LLC, (“REI”) is the owner of the Premises located at

 4573 Fawn Hollow Cove, Memphis Tennessee. REI purchased the Premises as a

 bona fide purchaser for value from Bank of America on June 18, 2019. The

 Special Warranty Deed is attached as Exhibit A hereto. The Premises was sold at

 foreclosure in 2014 and has never been property of the Bankruptcy Estate.

           2. Debtor filed this Chapter 13 case on October 10, 2018. On March

 25, 2019, the then owner of the Premises, Bank of America, obtained relief from

 the Automatic Stay for the purpose of obtaining possession of the Premises
Case 18-28470     Doc 39    Filed 07/25/19 Entered 07/25/19 13:39:10         Desc Main
                              Document     Page 2 of 3



 [Order Granting Motion for Relief from Automatic Stay, Doc. 26]. A true and

 genuine copy of the March 25, 2019 Order is attached hereto as Exhibit B.

           3. On June 12, 2019, Bank of America filed a forcible entry and

 detainer (“FED”) action in General Sessions Court. This case was dropped from

 the calendar. On July 2, 2019, REI filed its own FED action. On July 24, 2019, the

 Debtor appeared in General Sessions Court and advised counsel and the court of

 her bankruptcy. However, she failed to advise of the Order lifting the Stay as to

 the Premises. REI was not aware of this bankruptcy case until that time.

           4. Cause exists for a termination of the Automatic Stay effective on

 March 25, 2019, pursuant to Section 362(d)(1) for the purpose of allowing Movant

 to exercise its state law remedies to obtain possession of the Premises, on

 grounds that the Premises has never been property of the estate, and the Debtor

 has no leasehold interest that is capable of being assumed pursuant to Section

 365 of the Bankruptcy Code, Bank of America having been afforded the same

 relief by Order dated March 25, 2019.

           5. Alternatively, REI seeks an Order of this Court deeming it to be a

 successor in interest to Bank of America as to the Premises and Order of March

 25, 2019, and declaring that the Automatic Stay is not in effect as a stay of REI's

 efforts to obtain possession of the Premises.

           6. REI seeks an In Rem Order as to the Premises with prejudice as to

 any future bankruptcy filing by Debtor or any other occupant of the Premises, on




                                           2
Case 18-28470     Doc 39    Filed 07/25/19 Entered 07/25/19 13:39:10        Desc Main
                              Document     Page 3 of 3



 grounds that the Debtor has been less than forthcoming to REI and the state

 court as to the status of her bankruptcy and the automatic stay.

           WHEREFORE, PREMISES CONSIDERED, REI respectfully requests

 this Honorable Court to enter an Order terminating the Automatic Stay for the

 purpose of allowing it to exercise its state law remedies as to the Premises in an

 F.E.D. or similar action, for a waiver of the fourteen-day stay provided under

 Rule 4001(a)(3) F.R.B.P., in the alternative for an Order as set out in Paragraph 5

 herein, In Rem and with prejudice, and for such other relief as the Court may

 deem proper.

                                    Respectfully submitted,

                                    BEARD & SAVORY, PLLC

                                    /s/ Russell W. Savory
                                    ____________________________________
                                    Russell W. Savory (12786)
                                    Attorney for REI Nation, LLC
                                    119 South Main Street, Suite 500
                                    Memphis, Tennessee 38103
                                    901-523-1110

                            CERTIFICATE OF SERVICE

        I, Russell W. Savory, do hereby certify that a true and accurate copy of the
 foregoing pleading has been served on the Debtor, Debtor’s Attorney, and the
 Chapter 13 Trustee via electronic notice or U. S. Mail, postage prepaid, this 25 th
 day of July, 2019.


                                           /s/ Russell W. Savory
                                           ____________________________________
                                           Russell W. Savory




                                          3
